Case 2:12-cv-02409-KJM-CKD Document 1 Filed 09/20/12 Page 1 of 10
Case 2:12-cv-02409-KJM-CKD Document 1 Filed 09/20/12 Page 2 of 10
Case 2:12-cv-02409-KJM-CKD Document 1 Filed 09/20/12 Page 3 of 10
Case 2:12-cv-02409-KJM-CKD Document 1 Filed 09/20/12 Page 4 of 10




                                                 EXHIBIT A, PAGE 1
Case 2:12-cv-02409-KJM-CKD Document 1 Filed 09/20/12 Page 5 of 10




                                                 EXHIBIT A, PAGE 2
Case 2:12-cv-02409-KJM-CKD Document 1 Filed 09/20/12 Page 6 of 10




                                                 EXHIBIT A, PAGE 3
Case 2:12-cv-02409-KJM-CKD Document 1 Filed 09/20/12 Page 7 of 10




                                                 EXHIBIT A, PAGE 4
Case 2:12-cv-02409-KJM-CKD Document 1 Filed 09/20/12 Page 8 of 10




                                                 EXHIBIT A, PAGE 5
Case 2:12-cv-02409-KJM-CKD Document 1 Filed 09/20/12 Page 9 of 10




                                                 EXHIBIT A, PAGE 6
Case 2:12-cv-02409-KJM-CKD Document 1 Filed 09/20/12 Page 10 of 10
